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                     1    MORGAN, LEWIS & BOCKIUS LLP
                          Richard W. Esterkin, SBN 70769
                     2    richard.esterkin@morganlewis.com
                          300 S Grand Ave Fl 22
                     3    Los Angeles CA 90071-3132
                          Tel: (213) 612-2500
                     4    Fax: (213) 612-2501

                     5    Attorneys for
                          Amazon Logistics, Inc.
                     6

                     7

                     8                                 UNITED STATES BANKRUPTCY COURT
                     9                                   CENTRAL DISTRICT OF CALIFORNIA
                    10                                            LOS ANGELES DIVISION
                    11

                    12    In re:                                                      Case No. 2:19-bk-14989-WB
                                                                                      Jointly Administered:
                    13             SCOOBEEZ, et al.1,                                 2:19-bk-14991-WB, and 2:19-bk-14997-WB
                    14                                                                Chapter 11
                                           Debtors and Debtors in
                    15                     Possession.            AMAZON LOGISTICS, INC.’S REPLY
                                                                  IN SUPPORT OF MOTION FOR RELIEF
                    16    _______________________________________ FROM STAY; AND DECLARATION OF
                                                                  JAMES WILSON IN SUPPORT
                    17    Affects:                                THEREOF
                          ■ All Debtors
                    18    □ Scoobeez, ONLY                        Date: Nov. 18, 2019
                          □ Scoobeez Global, Inc., ONLY           Time: 10:00 a.m.
                    19    □ Scoobur LLC, ONLY                     Place.:     United States Bankruptcy Court
                                                                              Edward Roybal Federal Building
                    20                                                        255 E Temple St., Ctrm 1375
                                                                              Los Angeles CA 90012
                    21
                                                                                      Judge: The Hon. Julia W. Brand
                    22

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                    27    1
                            The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                          Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
                    28    Boulevard, in Glendale, California 91214.
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                     1                                                         I.
                                                                         INTRODUCTION
                     2

                     3             It is safe to say that Amazon and the parties opposing Amazon’s motion for relief from the

                     4    automatic stay have dramatically different view of the Debtor.2 What is undisputed is that

                     5    Amazon provided the Debtor with substantial business from the inception of its contract with the

                     6    Debtor through the date upon which the Debtor filed its chapter 11 petition. After the petition

                     7    date, Amazon actually increased the amount of business that it supplied to the Debtor, until

                     8    recently, when the amount of business given to the Debtor returned to a more normalized level.

                     9    Recently, Amazon made the decision to sever its relationship with the Debtor and approached the

                    10    Debtor in an unsuccessful effort to agree upon a consensual, gradual transition period that would

                    11    have facilitated the Debtor’s drivers’ efforts to seek alternative employment (to the extent that the

                    12    Debtor’s remaining business did not require their services) and paid the Debtor a substantial sum

                    13    of money.3 As the Debtor was informed at that time, absent such an agreement, Amazon would

                    14    seek to exercise its contractual termination rights, which led to the filing of the present motion.

                    15             Amazon’s decision to terminate its relationship with the Debtor, which is explicitly

                    16    provided for in its contract with the Debtor, was not made idly, arbitrarily, or as a result of the

                    17    Debtor having filed its chapter 11 petition.4 As Amazon explained to both the Debtor and its

                    18    lender, Hillair Capital Management, LLC (“Hillair), the Debtor’s business model – a large

                    19    delivery service provider (“DSP”) operating out of multiple stations with only lower level

                    20    management at each station did not fit the business model that Amazon was seeking to promote –

                    21    2
                             Hillair’s opposition to this motion is replete with “facts” that are wholly unsupported by any admissible evidence
                          or that grossly distort that evidence. Amazon does not intend to burden this Court by listing each such instance and
                    22    would request that the Court review the admissible portions of the declarations submitted by Hillair in support of its
                          opposition in lieu of relying upon the purported statement of facts set forth in that opposition. One example of the
                    23    foregoing is the statement that “Unlike other delivery companies of its kind, the Debtor’s employees receive full
                          health insurance coverage and are paid wages for a day’s work even if they finish their routes early, minimizing the
                    24    likelihood of accidents due to frenetic driving.” Opposition at 3:8-10. There is no admissible evidence as to the
                          employment policies of other delivery companies. Further, there is no evidence that paying drivers for a full day’s
                    25    work minimizes the likelihood of accidents due to “frenetic driving.”
                          3
                    26     In summarizing the proposed separation agreement, Hillair fails to inform the Court that the proposed agreement
                          was expressly conditioned upon obtaining this Court’s approval of that agreement.
                    27    4
                            It is undisputed that Amazon provided the Debtor with increased business in the months following the filing of the
                          Debtor’s chapter 11 petition and that Amazon’s decision to sever its relationship with the Debtor was made months
                    28    after the petition date.
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                     1    DSPs operating from stations ewith local ownership. In addition, Amazon had become subject to

                     2    multiple actions in which the Debtor’s employees alleged that the Debtor failed to comply with

                     3    local wage/hour laws and that Amazon was jointly and severally liable with the Debtor on those

                     4    claims.5 In short, in addition to its structural concerns, Amazon grew tired of being sued as a

                     5    result of the Debtor’s operations.

                     6              On May 13, 2019, Amazon sent an e-mail to all of its DSPs, including the Debtor,

                     7    reminding them that their contracts with Amazon required that they obtain Amazon’s written

                     8    consent to any assignment of those contracts.6 That e-mail also advised the DSPs that, “If your

                     9    company intends to acquire the Amazon-related business of another DSP or to sell or assign its
                    10    Amazon related business to another DSP or any other third party, please reach out directly to the

                    11    Amazon On-Road Director for your region, as well as amzlcompliance@amazon.com to notify

                    12    Amazon of your intention to seek Amazon’s approval.”7 The Debtor simply ignored that e-mail

                    13    and filed a motion seeking to assign the Amazon contract to Hillair or its assignee, to which

                    14    Amazon objected.8 Among other things, as noted in Amazon’s objection to Hillair’s motion to

                    15    seal the Freeh report, Amazon has significant concerns regarding Hillair’s ability to operate the

                    16    Debtor’s business, including the wisdom of its decision to continue to support the Debtor with

                    17    Mr. Ohanessian in charge for over two years after learning of Mr. Ohenassian’s alleged

                    18    misappropriations. Also, the Debtor did not propose to cure, or provide adequate assurances that

                    19    it or Hillair would cure, the prepetition defaults under the contract (see, Amazon’s proofs of claim
                    20    Nos. 31, 32, 37, 38 and 39) and failed to identify the actual party to whom the contract was to be

                    21

                    22

                    23    5
                            The Debtor’s assertion that Amazon made its decision to sever its relationship with the Debtor due to the Debtor’s
                    24    failure to satisfy its pre-petition indemnification obligations is incorrect. If Amazon was merely concerned with
                          recovering on its pre-petition claims, it would not have objected to the Debtor’s attempt to assume and assign its
                    25    contract as assumption of the contract would have required payment in full of the pre-petition claims. Further,
                          although there are pages of declarations recounting Amazon’s interaction with the Debtor and Hillair, none of the
                    26    declarants have suggested that Amazon was willing to rescind its decision if its pre-petition claims were paid.
                          6
                              Declaration of James Wilson (Adversary Docket No. 10 at pages 10-13 ) at ¶ 10, Exhibit 1 (at page 183 of 184).
                    27    7
                              Id.
                    28    8
                              Declaration of James Wilson (Adversary Docket No. 10 at pages 10-13 ) at ¶ 11; Docket No. 349.
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                     1    assigned.9 In fact, even in its most recent filing, Hillair still fails to identify its proposed

                     2    assignees, the interest that they will receive, the capital, if any, that they propose to contribute to

                     3    the entity that is supposed to succeed to the contract or the role that those “investors” will play in

                     4    the Debtor’s operations.10

                     5             The Debtor’s “end-game” is equally obscure. Whether the Amazon contract is assigned to

                     6    a third party in a sale of the Debtor’s assets or retained by the Debtor as part of a plan of

                     7    reorganization (assuming that either outcome is possible), the automatic stay will terminate.

                     8    Whoever winds up with the Amazon contract, the contract will never provide that Amazon must

                     9    provide that entity with any business and will always provide that Amazon has the right to
                    10    terminate the contract without cause on 30 days’ written notice. The Amazon contract does not

                    11    provide a foundation upon which the Debtor can reorganize, whether via an asset sale or a plan.

                    12             Amazon customers expect the timely delivery of packages. Amazon contracts with a

                    13    number of third parties including the U.S. Postal Service, UPS, and delivery service providers

                    14    (“DSPs”), such as the Debtor, to deliver packages to Amazon customers. Amazon’s contract with

                    15    the Debtor protects Amazon from having to do business with DSPs with whom Amazon has lost

                    16    confidence by explicitly stating that the contract does not guarantee that the DSP will receive any

                    17    business and granting Amazon (and the contract counterparty, such as the Debtor) the right to

                    18    terminate the contract on 30 days’ written notice, with or without cause. Although not required

                    19    by the contract, Amazon provided the Debtor and Hillair with its rationale for severing its
                    20    relationship with the Debtor (discussed above). Amazon has now filed this motion to implement

                    21    that decision and flee the chaos with which it is faced. This Court should grant this motion and

                    22    allow Amazon to exercise its contractual rights.

                    23
                          9
                    24      As stated in Amazon’s objection to the assumption and assignment of the Contract, the proposed asset purchase
                          agreement provides that “Buyer [Hillair] intends to (and may, without the consent of Sellers) assign its rights,
                    25    interests, and obligations hereunder to one or more of its assignees or designees.” Docket No. 349 at p. 5.
                          10
                             See, Hillair Capital Management LLC’s Initial Opposition to Amazon Logistics Motion for an Order: (A)
                    26    Determining that the Stay Does not Require [Amazon] to Utilize Debtor’s services and (B) Modifying the Automatic
                          Stay (Docket No. 418) at 5:18-21 (“When Amazon complained that it did not want to work with a DSP owned by
                    27    Hillair, Hillair indicated that the “newco” would be partially owned by well-known citizens of each city, including
                          prominent National Football League players and individuals of diverse racial backgrounds who are more reflective of
                    28    the diverse demographics of the Debtors.”).
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                     1                                           II.
                                            THE AUTOMATIC STAY DOES NOT COMPEL AMAZON
                     2                           TO PROVIDE BUSINESS TO THE DEBTORS

                     3             As the Debtor acknowledges, “the automatic stay prohibits any acts to terminate or

                     4    modify an estate’s interests in a contract.”11 The contract at issue in this case unambiguously

                     5    states that “Amazon makes no promises or representations whatsoever as to the amount of

                     6    business that you can expect at any time under these Terms ….” Thus, the estate does not have

                     7    an interest in any particular volume of business, or any business at all. If Amazon were to cease

                     8    providing any business to the Debtors, it would not be modifying or terminating any right that the

                     9    Debtor possesses under the contract. Rather than preserving the Debtor’s rights under the

                    10    contract, the Debtor seeks to use the automatic stay to enlarge those rights. There is no authority

                    11    for that position.

                    12             The Committee and Debtor rely upon Rekhter v. State Dept. of Social Health Services,

                    13    180 Wash.2d 102 (2014) to argue that the covenant of good faith and fair dealing, as applied

                    14    under Washington law, limits Amazon’s discretion regarding its decision to award routes to the

                    15    Debtor. That case has no application to the facts of this case.

                    16             In Rekhter, the Department of Health Services contracted with care providers to provide

                    17    personal care services and perform household tasks for disabled individuals. “The contracts

                    18    explicitly incorporate by reference the service plan of the particular client, but because the

                    19    contracts are signed before the service plan is created, key terms such as tasks to be performed

                    20    and authorized hours are left undefined until long after the contract is executed.” 180 Wash.2d at

                    21    108. The Department adopted a “shared living rule” that provided less compensation for

                    22    caregivers who lived with their clients than for other caregivers. The Court held that:

                    23                     [T]he duty of good faith and fair dealing arises when one party has
                                           discretionary authority to determine a future contract term. Here,
                    24                     the contracts gave DSHS the discretionary authority to pay
                                           providers for authorized hours pursuant to the service plans, which
                    25                     were developed at the discretion of DSHS after the contracts were
                                           finalized. Thus, the duty of good faith and fair dealing arose in
                    26                     connection with those contract terms.

                    27    11
                             Debtors’ Opposition to Amazon Logistics, Inc.’s Notice of Motion and Motion for an Order: (A) Determining that
                          the Automatic Stay does not Require Amazon to Utilize the Debtor’s Services, and (B) Modifying the Automatic Stay
                    28    (Docket No. 419) at 9:12-13.
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                     1    180 Wash.2d at 112. In so holding, the Court noted that “the implied covenant of good faith and

                     2    fair dealing cannot add or contradict express contractual terms and does not impose a free-

                     3    floating obligation of good faith on the parties. Instead, “’the duty [of good faith and fair dealing]

                     4    arises only in connection with terms agreed to by the parties..’” Id. The Court also cited with

                     5    approval Johnson v. Yousoofian, 84 Wash. App. 755, 762 (1996), relied upon by Amazon in its

                     6    motion, for the proposition that “The implied duty of good faith is derivative, in that it applies to

                     7    the performance of specific contractual obligations. If there is no contractual duty, there is

                     8    nothing that must be performed in good faith.”

                     9             Here, Amazon is not purporting to dictate terms not provided for in the contract. Rather,
                    10    Amazon is requesting authority to enforce the terms of a fully integrated agreement that spell out

                    11    the parties’ rights and obligations in detail.12 That contract explicitly provides that Amazon has

                    12    the right to decide whether it wishes to use the Debtor’s services and the terms upon which those

                    13    services will be rendered. Thus, to apply the covenant of good faith and fair dealing as urged by

                    14    the Debtor and the Committee would, in contravention of Washington law, contradict the express

                    15    provision of the contract providing that Amazon is not guaranteeing the Debtor any particular

                    16    volume of business, or any business at all. Finally, because there is no contractual duty to

                    17    provide business, under Johnson, there is no contractual duty that must be performed in good

                    18    faith.

                    19             The parties’ contract does not compel Amazon to use the Debtor’s services and the
                    20    automatic stay cannot be twisted so as to compel Amazon to do so. This Court should declare

                    21    that Amazon is free to use, or not use, the Debtor’s services at its discretion.

                    22                                    III.
                               BECAUSE AMAZON LACKS ADEQUATE PROTECTION FOR ITS INTEREST IN
                    23           THE AGREEMENT, THE AUTOMATIC STAY SHOULD BE TERMINATED
                    24             Quite simply, cause exists to modify the automatic stay because the automatic stay, as

                    25    viewed by the Debtor, prevents Amazon from utilizing a DSP of its choice, even if that

                    26
                          12
                             See, Terms at ¶ 12(j) (“These Terms (together with the Program Policies, which are incorporated in these Terms
                    27    by reference), any Work Orders, and any NDA constitute the complete and final agreement of the parties pertaining
                          to the Services and supersede and replace the parties’ prior agreements, understandings, representations and
                    28    discussions (whether written or oral) relating to the Services.
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                     1    alternative DSP is viewed as more qualified or offers better business terms to Amazon. In

                     2    contrast, continuing the automatic stay in effect cannot confer any lasting benefit on the Debtor’s

                     3    estate because, eventually, the automatic stay will terminate and Amazon will be free to enforce

                     4    its contractual rights. As noted in Amazon’s motion, numerous courts have held that, when the

                     5    estate can obtain no benefit from the continuance of a contract, cause exists to grant the contract

                     6    counterparty relief from the stay to terminate the contract.13

                     7               The contention that the Debtor is performing well under the contract is not correct. In

                     8    fact, on average, the Debtor is in the bottom half of all DSPs operating from the stations from

                     9    which the Debtor operates.14 Thus, not only does the perpetuation of the automatic stay impose
                    10    lost opportunity costs on Amazon, but, assuming that it applies at all, it also forces Amazon to do

                    11    business with an entity that it believes to be a sub-par performer.

                    12               Relying upon In re Siciliano, 167 B.R. 999 (Bankr. E.D. Pa. 1994), the Committee argues

                    13    that this Court has discretion to deny relief, even if the requirements of § 362(d)(1) have been

                    14    met. First, the Siciliano court concluded that the requirements of § 362 had not been met in the

                    15    case and, therefore, the language relied upon by the Committee is dicta. Second, the creditor in

                    16    Siciliano was seeking to annul the stay to validate its prior foreclosure sale, not seeking

                    17    prospective relief. Obtaining an annulment of the stay involves equitable considerations that are

                    18    not present when seeking prospective relief, as in this case. Third, Siciliano relies upon In re

                    19    Colonial Center, Inc., 156 B.R. 452 (E.D. Pa. 1993) and cases cited therein. Those cases make it
                    20    clear that relief may be denied when the requirements of § 362(d)(2) (lack of equity and not

                    21    necessary to an effective reorganization) have been met, provided that the secured creditor’s

                    22    interest is otherwise adequately protected. Here, for the reasons stated in Amazon’s motion and

                    23    this reply, Amazon’s contractual rights are not adequately protected – contrary to those rights,

                    24    Amazon is being forced to continue to use, and pay for, the Debtor’s services and is being

                    25    precluded from utilizing other DSPs that Amazon views as better qualified or who have offered

                    26    Amazon better economic terms. Hence, Siciliano does not support denying Amazon the relief

                    27    13
                               See, Motion at pp. 6-7.
                    28    14
                               Declaration of James Wilson at ¶ 7.
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                     1    that it seeks.

                     2              Finally, this argument flies in the face of the express language of § 362(d). That section

                     3    states:

                     4                     On request of a party in interest and after notice and a hearing, the
                                           court shall grant relief from the stay provided under subsection (a)
                     5                     of this section, such as by terminating, annulling, modifying, or
                                           conditioning such stay –
                     6
                                                   (1) for cause, including lack of adequate protection of an
                     7                     interest in property of such party in interest;
                     8    11 U.S.C. § 362(d)(1) (emphasis added). The section uses the mandatory word “shall,” not the

                     9    permissive word “may.” Thus, § 362(d) requires that this Court provide Amazon with relief,
                    10    provided that it concludes that Amazon lacks adequate protection for its interest in the agreement.

                    11              Reliance upon In re National Hydro-Vac Industrial Services L.L.C., 262 B.R. 781 (Bankr.

                    12    E.D. Ark. 2001) to argue that the existence of an at will termination provision in a contract does

                    13    not constitute cause under § 362(d) is equally unavailing. What the court in that case actually

                    14    held was that, because the non-debtor party to the contract was attempting to cancel the contract

                    15    because of the Debtor’s bankruptcy filing and financial condition, to permit the non-debtor to

                    16    terminate the contract would violate the Congressional policy, expressed in § 365(e)(1),

                    17    prohibiting the enforcement of ipso facto clauses.

                    18                     As a Bank employee testified, under the terminable at will provision,
                                           the Bank cancelled the Agreement when it learned of the Debtor’s
                    19                     bankruptcy. Under the rule in In re B. Siegel, the Bank may not
                                           exercise its right to terminate for this reason because it contravenes
                    20                     the legislative purposes of the very statute the Bank employs to argue
                                           for relief from stay.
                    21

                    22    262 B.R. at 787. Thus, National Hydro-Vac does not stand for the proposition that the presence

                    23    of an at will termination provision cannot provide cause for relief from the stay. Rather, it holds

                    24    that an at-will termination clause cannot be exercised when the reason for doing so is that the

                    25    debtor filed a bankruptcy petition. Here, this is no evidence that would support a conclusion that

                    26    Amazon is attempting to exercise its termination right based upon the Debtor’s bankruptcy filing.

                    27    Instead, Amazon continued to do business with the Debtor for months after it filed is chapter 11

                    28    petition, increased the business that it provided to the Debtor after the filing and has articulated
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                     1    substantial other reasons for its decision. Thus, Amazon’s decision to exercise its at will

                     2    termination rights (following an order modifying the automatic stay to permit it to do so) does not

                     3    contravene any public policy and National Hydro-Vac is inapposite.

                     4             Citing In re O-Jay Foods, Inc., 110 B.R. 895 (Bankr. Minn. 1989), Hillair argues that

                     5    Amazon is not entitled to adequate protection because the Amazon contract is an executory

                     6    contract and, as a result, Amazon’s rights are governed solely by § 365. But the Amazon contract

                     7    is not an executory contract because it does not impose any material obligations on Amazon. As

                     8    stated in Amazon’s opposition to the Debtor’s request that it be allowed to assume and assign the

                     9    Amazon contract, Amazon had no executory obligations under that contract because the contract
                    10    does not obligate Amazon to provide any business to the Debtor. In response, the Debtor argued

                    11    that, because Amazon owed monies to the Debtor as of the petition date based upon the Debtor’s

                    12    performance of pre-petition services, Amazon had material unperformed obligations that rendered

                    13    the contract executory.

                    14             The Debtor’s argument ignores that fact that courts treat master agreements where the

                    15    non-debtor is not obligated to request services or goods from the debtor and the agreements

                    16    resulting from requests for services or goods as separate divisible contracts. “’A master service

                    17    agreement is not an executory contract. . . . An executory contract is an agreement to do

                    18    something in the future. A master service agreement is an agreement to abide by certain terms if

                    19    the parties agree to do something in the future.” In re ATP Oil & Gas Corp., 2015 WL 5965600
                    20    (S.D. Tx. Oct. 9, 2015) quoting Moser v. Aminoil U.S.A., Inc., 618 F.Supp. 774, 779 (W.D.La.

                    21    1985) (emphasis in original). Master agreements, such as the Amazon contract, are treated as

                    22    though they were option agreements, giving the non-debtor the option of requesting, or not

                    23    requesting, goods or services; and the agreements resulting from the exercise of that option as

                    24    separate contracts. See, In re Hawker Beechcraft, Inc., 2013 WL 2663193 (Bankr. S.D.N.Y. June

                    25    13, 2013). See also, Carlisle Corp. v. Uresco Const. Materials. Inc., 823 F.Supp. 271 (M.D. Pa.

                    26    1993) (Distribution agreement creating potential for future sales is a separate contract from the

                    27    contracts formed when products were ordered); S.A.M. Electronics, Inc. v. Osaraprasop, 39

                    28    F.Supp.2d 1074 (N.D. Ill. 1999) (same). Thus, while the specific contracts that resulted from
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                     1    Amazon’s requests for pre-petition services from the Debtor may well have been executory

                     2    contracts, those contracts do not cause the master agreement that spells out their terms and

                     3    conditions to become an executory contract. As a result, O-Jay Foods has no application to this

                     4    case.

                     5               Strangely, Hillair also relies upon In re Deppe, 110 B.R. 898 (Bankr. Minn. 1990),

                     6    decided by the same judge as O-Jay Foods. In Deppe, the Court concluded that the debtor in that

                     7    case had committed incurable breaches of the contract, thus precluding the debtor from assuming

                     8    the contract. As a result, the court concluded that there was “cause” to modify the automatic stay.

                     9                       Given the inevitable outcome of any context over the estate’s claim
                                             to administer those rights, it should restrain [the non-debtor party] no
                    10                       longer. [The non-debtor party] may enforce its right to terminate all
                                             remaining aspects of the franchise relationship on the grounds that it
                    11                       assert, by giving the statutory notice of termination.
                    12    110 B.R. at 906-907. So too in this case. There is no purpose to be served by continuing the

                    13    automatic stay in place. The Amazon contract is not an executory contract that can be assumed or

                    14    assigned. Even if it were, if it were assigned to a third party, such as Hillair, Amazon would not

                    15    be obligated to request any services from Hillair and could terminate the contract on 30 days

                    16    written notice as the automatic stay would no longer apply. Similarly, if the Debtor were to

                    17    assume the Contract as part of a plan of reorganization, once the plan became effective, Amazon

                    18    would be free to exercise its contractual rights. Given the inevitability of Amazon being able to

                    19    exercise its contractual rights, there is simply no reason to prejudice Amazon by keeping the stay
                    20    in place.

                    21                                          IV.
                                        AMAZON HAS NOT ‘DE FACTO” TERMINATED THE CONTRACT
                    22

                    23               Relying upon In re Ernie Haire Ford, Inc., 403 B.R. 750, 760 (Bankr. M.D. Fla. 2009),

                    24    the Committee and Debtor argue that Amazon has violated the stay by “de facto” terminating the

                    25    Contract. As a matter of fact, this is untrue. Amazon has continued to provide the Debtor with

                    26    substantial business while this Court adjudicates the parties’ rights and obligations.15 In fact, the

                    27    number of routes assigned to the Debtor places the Debtor in the top 5% of all DSPs utilized by

                    28    15
                               Wilson Decl., ¶¶ 2 and 3.
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                     1    Amazon.16 That Amazon has made it clear that it intends to exercise its rights under its contract,

                     2    once those rights are clarified by this Court or the automatic stay modified, cannot possibly

                     3    constitute a violation of the stay – the rights have yet to be exercised. Finally, as noted in

                     4    Amazon’s opposition to the Debtor’s request for a temporary restraining order, Ernie Haire Ford

                     5    has no application to this case: (a) unlike the contract counterparty in Ernie Haire Ford, Amazon

                     6    did not determine to terminate its relationship with the Debtor based upon the Debtor’s

                     7    bankruptcy filing and (b) the Ernie Haire Ford court relied upon the covenant of good faith and

                     8    fair dealing as applied under Florida law, whereas the Contract provides for the application of

                     9    Washington law, which, as stated above, does not apply the covenant where there is no obligation
                    10    that must be performed or contrary to a contract’s express terms.

                    11                                                    V.
                                                                      CONCLUSION
                    12

                    13               In Matter of West Electronics Inc., 852 F.2d 79 (3rd Cir. 1988), the Circuit reversed a

                    14    bankruptcy court order denying relief from the automatic stay sought to permit a non-debtor to

                    15    terminate a contract that could not be assumed, concluding that, under those circumstances, “the

                    16    debtor in possession did not have a legally cognizable interest in the contract . . . .” 852 F.2d at

                    17    84. In this case, the Debtor does not have a legally cognizable interest in receiving business from

                    18    Amazon. In addition, the Amazon contract does not provide any party with any legally

                    19    cognizable interest beyond the right to a 30 day termination notice. Thus, the contract is not an
                    20    asset that can be sold and cannot form the foundation for the Debtor’s reorganization. So long as

                    21    the automatic stay remains in effect, Amazon’s right to select the DSP with whom it desires to do

                    22    business is in doubt and Amazon is precluded from exercising its termination right. Given the

                    23    estate’s minimal interest in the contract, the stay should be modified to permit Amazon to

                    24    exercise the rights granted to it in the contract.

                    25

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                    28    16
                               Id.
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                     1    Dated: November 11, 2019                 MORGAN, LEWIS & BOCKIUS LLP

                     2

                     3                                             By:   /s/ Richard W. Esterkin
                                                                             Richard W. Esterkin
                     4
                                                                           Attorneys for Amazon Logistics, Inc.
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                     1                                 DECLARATION OF JAMES WILSON
                     2             I, James Wilson, declare:

                     3             1.      My job title is Senior Manager, Amazon Logistics. In that capacity, I am familiar

                     4    with the engagement of delivery service providers (“DSPs”), such as Scoobeez, Inc.

                     5    (“Scoobeez”), by Amazon Logistics, Inc. (“Amazon Logistics”) to deliver packages ordered from

                     6    Amazon.com and related online sites.

                     7             2.      In the ordinary course of its business, Amazon Logistics maintains records

                     8    regarding the number of routes run by the various DSPs with whom Amazon Logistics contracts.

                     9    Those records are created and updated at or near the time that the routes are run by the DSP and

                    10    are relied upon by Amazon Logistics for, among other things, calculating payments due to DSPs.

                    11    Those records are maintained on a week by week basis, with a week commencing on Sunday and

                    12    concluding on Saturday. Thus, week 1 during 2019 concluded on January 5, 2019, week 2

                    13    concluded on January 12, 2019, etc.

                    14             3.      Based upon the number of routes run, during weeks 43 and 44, Scoobeez is in the

                    15    top 5% of all DSPs utilized by Amazon Logistics. Indeed, Amazon has increased the average

                    16    number of routes awarded to Scoobeez following the filing of its bankruptcy petition above the

                    17    average number of routes awarded to Scoobeez during 2019 in the months before Scoobeez filed

                    18    its bankruptcy petition.

                    19             4.      Amazon estimates the number of packages that will need to be delivered, the

                    20    number of packages that can fit on a delivery vehicle of varying sizes (i.e. small van, extended

                    21    van, box truck, etc.), and the type of delivery service required (i.e. standard parcel, secure parcel,

                    22    pick up, etc.) in order to determine the estimated number of routes by type required from each of

                    23    its delivery stations. Amazon then communicates the number of routes by type awarded to each

                    24    of the DSPs over time at each of the delivery stations. Amazon’s estimate as to the number of

                    25    packages that require delivery, the number of packages that fit on a delivery vehicles and the

                    26    number of routes awarded to each DSP are updated periodically. On September 13, 2019,

                    27    Amazon launched a web-based Route Commitment tool to communicate the number of routes

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                     1    awarded to DSPs. DSPs log into the Route Commitment tool so that, if they elect to do so, they

                     2    can accept the routes awarded to them or raise questions regarding those route assignments.

                     3             5.       The September 13, 2019 version of the Route Commitment tool included the

                     4    number of routes that that Amazon anticipated awarding to Scoobeez through the remainder of

                     5    calendar year 2019. That model has been updated from time to time since September 2019.

                     6    Scoobeez has accepted the forecasted number of routes to be awarded to it in each iteration,

                     7    including the most recent iteration of the assigned routes on October 28, 2019.

                     8             6.       Although Amazon attempts to accurately predict the number of packages that will

                     9    need to be delivered from each of its delivery stations, those estimates are not 100% accurate.
                    10    Thus, on occasion, there are excess packages that require delivery and, on occasion, there are

                    11    fewer packages that require delivery. In Scoobeez’s case, Scoobeez has actually run a substantial

                    12    number of routes in excess of the Amazon’s forecasted allocation in the Route Commitment tool.

                    13             7.       In the ordinary course of its business, Amazon Logistics tracks and records the

                    14    performance metrics of the DSPs with whom Amazon Logistics contracts. Those records are

                    15    created and updated at or near the time that the performance metrics are measured and are relied

                    16    upon by Amazon Logistics for, among other things, determining the identity of the DSPs with

                    17    whom Amazon Logistics determines to do business. Scoobeez’s performance metrics as

                    18    compared to the performance metrics of the other DSPs at the delivery stations from which

                    19    Scoobeez operates, for the period from week 27 of 2019 through the present are as follows:
                    20                  Station              Number of DSPs               Debtor Performance Percentile
                    21                  DAU1                        14                                 63%
                    22                  DCH1                        17                                 47%
                    23                  DCH2                         6                                 47%
                    24                  DCH3                         7                                 56%
                    25                  DDA1                        11                                 50%
                    26                  DDA2                        18                                 41%
                    27                  DDA3                        18                                 70%
                    28
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                      1
                                         DLA3                          6                                   32%
                      2
                                         DLA8                         17                                   48%
                      3
                                         DLA9                         17                                   50%
                      4
                                          DPSI                        18                                   52%
                      5
                                         DSXl                         14                                   39%
                      6
                                         Average                                                          49.58%
                      7

                      8             I declare under penalty of perjury that the foregoing is true and correct and that this

                      9    declaration      was executed at Cary, North Carolina on November   11, 2019

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                  11                                                        James Wilson
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                         1                                  CERTIFICATE          OF SERVICE FORM

                         2                                      FOR ELECTRONIC           FILINGS

                         3             I hereby certify that on November 11,2019, I electronically filed the foregoing document,

                         4    Amazon Logistics, Inc.'s Reply in Support of Motion For Relief From Stay; and Declaration

                         5    of James Wilson in Support Thereof, with the Clerk of the United States Bankruptcy Court,

                         6    Central District of California, Los Angeles Division, using the CM/ECF system, which will send

                         7    notification of such filing to those parties registered to receive notice on this matter.

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                                                                                      Renee Robles
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